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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                  IN THE UNITED STATES DISTRICT COURT                   September 19, 2024
                  FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                           HOUSTON DIVISION

FERCAN E. KALKAN, individually,          §
and PINEY POINT 2023, LLC,               §
                                         §
                   Plaintiffs,           §
                                         §
v.                                       §      Civil Action No. 24-cv-02548
                                         §   (Consolidate with Civil Action Nos.
FANNIE MAE and GAVRIEL TOSO,             §     24-cv-02906 and 24-cv-02972)
as Substitute Trustee,                   §
                                         §
                   Defendants.           §
SITG CAPITAL PARTNERS, LLC               §
                                         §
                   Plaintiff,            §
                                         §      Civil Action No. 24-cv-02906
v.                                       §
                                         §
FERCAN E. KALKAN, PINEY POINT            §
2023, LLC, FEDERAL NATIONAL              §
MORTGAGE ASSOCIATION, SANDY              §
DASIGENIS, as Substitute Trustee, JEFF   §
LEVA, as Substitute Trustee, STEVE       §
LEVA, as Substitute Trustee, and DAVID   §
GARVIN, as Substitute Trustee,           §
                                         §
                Defendants.              §
ADIL PROPERTY, INC.,                     §
                                         §
                   Plaintiff,            §
                                         §
v.                                       §      Civil Action No. 24-cv-02972
                                         §
FERCAN E. KALKAN, PINEY POINT            §
2023, LLC, FEDERAL NATIONAL              §
MORTGAGE ASSOCIATION, SANDY              §
DASIGENIS, as Substitute Trustee, JEFF   §
LEVA, as Substitute Trustee, STEVE       §
LEVA, as Substitute Trustee, and DAVID   §
GARVIN, as Substitute Trustee,           §
                                         §
                   Defendants.           §
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                                         ORDER

            This consolidated action relating to efforts to foreclose on real property is

currently set for an Initial Pretrial and Scheduling Conference on October 1, 2024.

ECF 6. Before the Court is all parties’ Joint Motion for Continuance of the Initial

Conference.    ECF 24.      The parties represent that they are engaged in ongoing

settlement discussions and agree that continuing the initial conference to a date after

November 1, 2024 will not prejudice any party. Id. It is therefore

            ORDERED that the October 1, 2024 conference is CANCELED.                It is

further

            ORDERED that the Initial Pretrial and Scheduling Conference is set for

December 9, 2024 at 10:45 a.m. by Zoom.

                                Join ZoomGov Meeting
                                Meeting ID: 161 376 2172
                                   Passcode: 664485



Signed on September 19, 2024, at Houston, Texas.



                                                        Christina A. Bryan
                                                   United States Magistrate Judge




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